                   Case 1:21-cr-00537-JMC Document 195-3 Filed 09/16/22 Page 1 of 3
                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:       SAMSEL, RYAN STEPHEN                                                          Reg #:       28332-509
Date of Birth:                                         Sex:      M   Race:WHITE                  Facility:    PHL
Note Date:         09/01/2022 09:14                    Provider: Cassano, Kevin HSA              Unit:        Z01


Admin Note - General Administrative Note encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Cassano, Kevin HSA
          Patient was scheduled for a bilateral breast excisional biopsy to be followed by a post-surgical follow-up with
          Dr. M. Lazar.

             Patient refused Pre-admission lab testing (PAT) on August 19, 2022, and acknowledged that refusing labs
             may result in the cancellation of surgery.

             The surgery was cancelled by the outside provider as a result of refusal to get the required PATs.

             This writer contacted the office of Dr. M. Lazar to ask if she still wanted to see this patient for a follow-up
             appointment. The office responded that Dr. Lazar was consulted and confirmed that no further follow-up
             appointment is needed. Patient is discharged from the care of Dr. Lazar.



Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Cassano, Kevin HSA on 09/01/2022 09:25
Requested to be reviewed by Laughingwell, Raeph (MAT) MD.
Review documentation will be displayed on the following page.




Generated 09/01/2022 09:25 by Cassano, Kevin HSA       Bureau of Prisons - PHL                                     Page 1 of 1
                    Case 1:21-cr-00537-JMC Document 195-3 Filed 09/16/22 Page 2 of 3
                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        SAMSEL, RYAN STEPHEN                                                    Reg #:         28332-509
Date of Birth:                                         Sex:      M   Race:WHITE             Facility:      PHL
Note Date:          08/12/2022 13:10                   Provider: Laughingwell, Raeph        Unit:          Z01


Cosign Note - Consultation encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Laughingwell, Raeph (MAT) MD
          Report from Breast Surgery consultation performed 8/8/2022 received and reviewed today. Diagnosis:
          Bilateral Breast Masses with nipple discharge. No suspicion for malignancy at this time. Recommendation:
          Bilateral Breast Excisional Biopsy of retroareolar region.


New Consultation Requests:
  Consultation/Procedure                       Target Date Scheduled Target Date Priority               Translator   Language
  Specialty Procedure - Offsite                08/24/2022 08/24/2022             Routine                No
        Subtype:
             Specialty Procedure - Offsite
          Reason for Request:
              Please schedule Bilateral Breast Excisional Biopsy with Breast Surgeon. Last seen by Breast Surgeon on
              8/8/2022.
          Provisional Diagnosis:
               Bilateral Breast Masses and Nipple Discharge

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Laughingwell, Raeph (MAT) MD on 08/12/2022 13:14




Generated 08/12/2022 13:14 by Laughingwell, Raeph      Bureau of Prisons - PHL                                 Page 1 of 1
Case 1:21-cr-00537-JMC Document 195-3 Filed 09/16/22 Page 3 of 3
